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EXHIBIT SS
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Attorneys for Temporary Conservator
of the Person and Temporary Co-Conservator
of the Estate James P. Spears

SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Temporary Conservatorship of the CASE NO. BP 108870

Person and the Estate of:

DECLARATION OF GERALDINE A.

BRITNEY JEAN SPEARS, WYLE IN SUPPORT OF EX PARTE

APPLICATION FOR ORDER: (1)
Temporary Conservatee. GRANTING POWER TO FIRE HOWARD
GROSSMAN; (2) REQUIRING HOWARD
GROSSMAN TO TURN OVER ALL
DOCUMENTS AND RECORDS
RELATING TO BRITNEY SPEARS; AND
(3) TO TURN OVER ALL ASSETS
RELATING TO BRITNEY SPEARS

Date: February 7, 2008
Time: 1:30 p.m
Department: 9

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WYLE DECI. IN SUIPP OF APP RAP NDNeD DE HAWann Anan le

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DECLARATION OF GERALDINE A. WYLE
I, Geraldine A. Wyle, declare:

1, I am an attorney licensed to practice law in the State of California and am a
partner at the law firm of Luce, Forward, Hamilton & Scripps LLP (“Luce Forward”), counsel of
record for James P. Spears (“*Mr. Spears”), the father of Britney Jean Spears (“Britney”) and
temporary conservator of the person and temporary co-conservator of the estate of Bnitney Jean
Spears. Except as otherwise stated, the statements contained herein are based on my personal
knowledge and experience. If called as a witness, I could and would testify competently to those
facts.

2. Through an e-mail on which I was copied, my colleague Jeffrey D. Wexler, a
partner at Luce Forward, at 12:23 p.m. on Wednesday, February 6, 2008 e-mailed to Mr.
Grossman the following documents filed by the Court earlier on F ebruary 6, 2008: (a) the Letters
of Temporary Conservatorship of the Person, (b) the Order Extending Temporary Letters of
Conservatorship of the Person (the “Order re the Person”), (c) the Letters of Temporary
Conservatorship of the Estate, and (d) the Order Extending Temporary Letters of
Conservatorship of the Estate (the “Order re the Estate”) (collectively, the “Letters and Orders’’).

3. I am informed and believe that later on the afternoon of February 6, 2008, Mr.
Grossman met with Britney and Adam Streisand (“Mr. Streisand”) of Loeb & Loeb LLP to
discuss Mr. Streisand’s potential representation of Britney with regard to this matter. | am
further informed and believe that Mr. Grossman did not provide Mr. Streisand with copies of the
Orders or inform him of the contents of those Orders, even though the Order re the Person
expressly provided that: (1) Mr. Spears had the power to restrict and limit visitors by any means;
(2) all meetings between Britney and any attorneys other than her court-appointed attorney, Sam
Ingham III, are subject to Mr. Spears’ approval, including the location for the meeting; and (3)
Mr. Spears had the power to be present with his attorneys at any such meeting and to ensure that
there is adequate security.

4. Later on the afternoon of February 6, 2008, upon learning that Mr. Grossman and
Mr. Streisand had met with Britney, | immediately notified attorneys at Loeb & Loeb of the

existence of the Orders and the prohibitions upon attorney conduct set forth therein. Thereafter,
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I spoke with Mr. Streisand, who told me that he had been unaware of the Orders or their contents
and that he had immediately discontinued his meeting with Britney upon being informed about
the Orders.

5. I am informed and believe that sometime after 12:23 p.m. on February 6, 2008,
Mr. Grossman met with Britney and attorney Adam Streisand at the Beverly Hills Hotel, without
the knowledge or consent of the Temporary Co-Conservators. It is my understanding that Mr.
Grossman did not provide Mr. Streisand with copies of the Orders or disclose their contents to
him.

Executed on February 7, 2008 at Los Angeles, California.

I declare under penalty of perjury of the laws of the State of California that the foregoing

is true and correct.

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